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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION


IN THE MATTER OF:                            )
                                             )        Case No. 18-10519
BETTY JO SCHAEFER,                           )        Chapter 7
                                             )
                   DEBTOR.                   )

                  TRUSTEE’S APPLICATION TO DEFER FEE
     FOR MOTION FOR AUTHORITY TO SELL REAL ESTATE BY PRIVATE SALE

         The undersigned Trustee for the estate of the above-named Debtor, Betty Jo Schaefer, hereby
represents that:
         1.        The Trustee has filed a Motion for Authority to Sell Real Estate by Private Sale, Free
and Clear of Liens, and to Make Payment of Secured and Administrative Claim and Closing Costs
("Motion to Sell") with the Clerk of the United States Bankruptcy Court for the Northern District
of Indiana and that the within estate is without requisite funds for payment of the required filing fees,
to wit: $181.00;
         2.        The amount of money on deposit for the Debtor’s estate is presently less than the
requisite filing fee; and
         3.        The filing of the Motion to Sell is in the best interest of the estate.
         WHEREFORE, Martin E. Seifert, Trustee, requests that the Court enter an order approving
the filing of the above-entitled Motion to Sell without prepayment of the filing fee, and that said
filing fee be deferred until conclusion of this case and the determination as to whether there is money
in the estate.
                                                               Respectfully submitted,

                                                               CHAPTER 7 TRUSTEE
                                                               444 EAST MAIN STREET
                                                               FORT WAYNE, INDIANA 46802
                                                               TELEPHONE: (260) 426-0444
                                                               FAX: (260) 422-0274
                                                               EMAIL: mseifert@hallercolvin.com

                                                               BY:/s/ Martin E. Seifert
                                                                   MARTIN E. SEIFERT
                                                                   I.D. #16857-02
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                                                CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and exact copy of the above and foregoing
Trustee’s Application to Defer Fee for Filing Motion to Sell Real Estate by Private Sale has been
sent by first class United States mail, postage prepaid, or electronically by the Court’s electronic case
filing system, this 15th day of May, 2019, to:

                                           Steven J. Glaser, Esq.
                                           Glaser & Ebbs
                                           132 East Berry Street
                                           Fort Wayne, Indiana 46802
                                           United States Trustee
                                           555 One Michiana Square
                                           100 East Wayne Street
                                           South Bend, Indiana 46601

                                                                            /s/ Martin E. Seifert
                                                                            MARTIN E. SEIFERT




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